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 Millennium Films

                       UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII



  In re Subpoena to                       )   Case No.: 1:19-mc-342
                                          )   (Copyright)
  Cloudflare, Inc.,                       )
                                          )   APPLICATION FOR 512(h)
                                          )   SUBPOENA
                                          )
                                          )
                                          )

                        APPLICATION FOR 512(h) SUBPOENA


 TO: CLERK OF THE ABOVE-ENTITLED COURT:

       Pursuant to 17 USC 512(h) (hereafter: “512(h)”), Millennium Films

 (“Owner”) hereby applies for issuance of a subpoena to Cloudflare, Inc. (the “service

 provider”) to identify alleged infringers of Owner’s Copyright protected motion

 picture. The following web domains promoted/distributed streams of the Owner’s

 motion picture.
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  Website                                   Host Provider                             IP address
  streamango.com                            CloudFlare                                104.18.248.72
  verystream.com                            CloudFlare                                104.20.132.131
  Fembed.com                                CloudFlare                                172.64.207.19
  vshare.eu                                 CloudFlare                                37.120.137.178
  Vidlox.me                                 CloudFlare                                37.48.68.207
  Flix555.com                               CloudFlare                                104.28.24.212
  Streamplay.to                             CloudFlare                                104.31.79.124
  0123moviesback.com                        CloudFlare                                172.64.172.29



          512(h) provides the copyright owner with a mechanism to request a subpoena

 from this Court. Particularly, 512(h)(1) provides:

           (1)Request.—

          A copyright owner or a person authorized to act on the owner’s behalf may request the clerk of any United States

 district court to issue a subpoena to a service provider for identification of an alleged infringer in accordance with this

 subsection.

          As stated in the Declaration of Counsel, the undersigned represents the Owner

 of the Copyright protected subject matter.

          512(h)(2) provides:

          (2)Contents of request.—The request may be made by filing with the clerk—

          (A) a copy of a notification described in subsection (c)(3)(A);

          (B) a proposed subpoena; and

          (C) a sworn declaration to the effect that the purpose for which the subpoena is sought is to obtain the identity of

 an alleged infringer and that such information will only be used for the purpose of protecting rights under this title.

          The undersigned provided a copy of the notification described in subsection

 (c)(3)(A) [See Exhibit 1], a proposed subpoena and the sworn declaration.

          512(h)(3) provides:

          (3) Contents of subpoena.—


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          The subpoena shall authorize and order the service provider receiving the notification and the subpoena to

 expeditiously disclose to the copyright owner or person authorized by the copyright owner information sufficient to

 identify the alleged infringer of the material described in the notification to the extent such information is available to the

 service provider.

          The proposed subpoena is in accordance with 512(h)(3).

          512(h)(4) provides:

          (4) Basis for granting subpoena.—

          If the notification filed satisfies the provisions of subsection (c)(3)(A), the proposed subpoena is in proper form,

 and the accompanying declaration is properly executed, the clerk shall expeditiously issue and sign the proposed subpoena

 and return it to the requester for delivery to the service provider.

          As the undersigned has provided the notification, the proposed subpoena in

 proper form, and the properly executed declaration, the clerk must issue and sign the

 proposed subpoena. 512(h)(4) provides that the Clerk, not a Judge should issue and

 sign the proposed subpoena.

          512(h)(6) provides that “…the procedure for issuance and delivery of the

 subpoena…shall be governed to the greatest extent practicable by those provisions of

 the Federal Rules of Civil Procedure governing the issuance, service, and

 enforcement of a subpoena duces tecum”. That is, 512(h)(6) provides that the

 procedures for the Rule 45 subpoena shall govern. The proposed subpoena is a Rule

 45 subpoena.




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       For these reasons, the undersigned request that the Clerk of the Court

 expeditiously issue and sign the proposed subpoena and return it to the undersigned

 via ECF to be served on the service provider.

       DATED: Kailua-Kona, Hawaii, September 13, 2019.



                                CULPEPPER IP, LLLC


                                /s/ Kerry S. Culpepper
                                Kerry S. Culpepper

                                Attorney for Owner/Requestor




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